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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
YEKATERINA SKIDANENKO,
on behalf of herself and all others
similarly situated,

                                                    Plaintiff,
                                                                           COMPLAINT

                          - against -                                      FLSA COLLECTIVE

                                                                           CLASS ACTION
EQUINOX HOLDINGS, INC. and ABC
CORPORATION 1-25 (fictious parties)


                                                     Defendant.
-----------------------------------------------------------------------X
        Plaintiff Yekaterina Skidanenko (“Skidanenko” or “Plaintiff”), by and through her

attorney, Jacob Aronauer of The Law Offices of Jacob Aronauer, complaining of Equinox

Holdings, Inc. (“Equinox” or “Defendant”), alleges the following:

                                        NATURE OF THE ACTION

1.      This is class action brought by Plaintiff on behalf of herself and all other similarly situated

        Tier 1 and Tier 2 personal trainers at Equinox’s New York locations to recover unpaid

        minimum wages, spread of hours and overtime compensation under the Fair Labor

        Standards Act (“FLSA”) and New York Labor Law (“NYLL”), as well as damages for

        violations of the wage statement requirements of the NYLL.

2.      Plaintiff and similarly situated non-exempt personal trainers work or have worked as Tier

        1 and Tier 2 personal trainers for Equinox.

3.      This class action is brought on behalf of all Tier 1 or Tier 2 personal trainers who work or

        worked on behalf of Defendant (the “Rule 23 Personal Trainer Class”) to seek unpaid
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      minimum wages, spread of hours wages and overtime wages, as well as statutory penalties

      for Defendant’s failure to provide accurate wage statements.

4.    Plaintiff further brings this action on behalf of herself and all similarly situated current and

      former non-exempt Tier 1 and Tier 2 personal trainers (the “FLSA Collective”) who elect

      to opt-in to this action pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§

      201 et seq., and specifically, the collective action provision of 29 U.S.C. § 216(b), to

      remedy violations of both the unpaid overtime and minimum wage provisions of the FLSA

      by Defendant.

5.    Plaintiff and the FLSA collective and Rule 23 Personal Trainer Class worked as personal

      trainers for Equinox, an international chain of luxury fitness clubs with locations

      throughout New York.

6.    Plaintiff and her similarly situated co-workers were required to work “off the clock” on a

      daily basis by Equinox. That work included spending hours at the gym recruiting new

      clients on behalf of Equinox, creating work out programs for Equinox’s clients, and

      traveling to and from Equinox mandated classes in other gym locations.

7.    Equinox has placed on notice that its practice and policy of requiring their trainers to work

      on their behalf without compensation was improper and in violation of the applicable law,

      yet, Equinox continued its practice. .

8.    At a minimum, Equinox accepts the benefit of their employees working on their behalf

      without compensating them for their labor.

9.    This action undertaken by Equinox— instructing their employees to work without paying

      them for their labor— is an undisputable violation of 29 CFR 785.11 which states that

      “Work not required but suffered or permitted is work is work time.”




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10.    Plaintiff and the Rule 23 Personal Trainer Class seek injunctive and declaratory relief

       against Defendant’s unlawful actions, compensation for its failure to pay minimum wages,

       spread of hours wages and overtime wages and for its failure to provide accurate wage

       statements, and liquidated damages, compensatory damages, pre-judgment and post-

       judgment interest, and attorneys’ fees and costs, as well as any and all other damages

       allowed pursuant to the FLSA and NYLL.

11.    Defendants ABC Corp. are fictitious names. Plaintiff reserves her right to amend the

       Complaint as a result of pleading such fictitious parties.

                                JURISDICTION AND VENUE

12.    This Court has jurisdiction over this action under 28 U.S.C. § 1331, 29 U.S.C. §§ 216(b)(c),

       and 217; and 28 U.S.C. § 1337.

13.    This Court has supplemental jurisdiction over the New York state law claims under the

       principles of pendent and ancillary jurisdiction.

14.    Venue is proper in this district under 28 U.S.C. § 1391(b)(c), because all or a substantial

       part of the events or omissions giving rise to the claims occurred herein.

                                            PARTIES

Plaintiff

15.    Plaintiff is and was at all times relevant hereto an adult individual residing in Brooklyn,

       New York.

16.    Plaintiff was an employee of Defendant from on or about July 22, 2019 until officially

       January 2020.

17.    Plaintiff was employed by Defendant as a personal trainer at the Tier 1 level.

18.    Plaintiff was a covered employee within the meaning of the FLSA and the NYLL.




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19.   As a result of the policies and procedures promulgated by Equinox, Plaintiff was compelled

      to work more than 40 hours each week for the benefit of Equinox, but was only paid for

      fraction of the hours worked.

Defendant Equinox Holdings, Inc.

20.   Equinox Holdings, Inc. is a luxury fitness company with its company mailing address at

      31 Hudson Yards, New York, NY 10001.

21.   On their website, Equinox claims to have 106 clubs across the world, including 40 in New

      York State.

22.   On information and belief, Equinox has (1) employees engaged in commerce or in the

      production of goods for commerce and handling, selling, or otherwise working on goods

      or materials that have been moved in or produced for commerce by any person; and (2) an

      annual gross volume of sales in excess of $500,000.00.

ABC Defendants

23.   ABC Defendants 1-25, said names being fictitious, are entities who may be subsidiaries of

      Equinox who partook in the aforementioned wage and hour violations but are as yet

      unknown or not necessarily yet germane to the allegations in the complaint.

                        COLLECTIVE ACTION ALLEGATIONS

24.   The claims in this Complaint arising out of the FLSA are brought by Plaintiff on behalf of

      herself and other similarly situated persons who are current and former Tier 1 or Tier 2

      trainers of Defendant in New York since the date three years prior to the filing of this

      Complaint who elect to opt-in to this action (the “FLSA Collective”).

25.   The FLSA Collective consists of conservatively 1,000 similarly situated current and former

      personal trainers who have been victims of Defendant’s common policy and practices that




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      have violated their rights under the FLSA by, inter alia, willfully denying them overtime

      wages.

26.   As part of its regular business practice, Defendant has intentionally, willfully and

      repeatedly harmed Plaintiff and the FLSA Collective by engaging in a pattern and/or policy

      of violating the FLSA. This policy includes, inter alia, the following:

             i.      failing to pay employees the applicable minimum wage rate for all time
                     worked up to forty (40) hours per week;

            ii.      failing to pay employees the applicable overtime rate for all time worked in
                     excess of forty (40) hours per week; and

           iii.      failing to keep accurate records of hours worked by employees as required
                     by the FLSA.

27.   Defendant has engaged in its unlawful conduct pursuant to a corporate policy of

      minimizing labor costs and denying employees compensation. As reflected by the fact that

      Equinox has repeatedly been sued for identical conduct, Defendant’s unlawful conduct has

      been intentional, willful and in bad faith, and has caused significant damage to Plaintiff

      and the FLSA Collective.

28.   The FLSA Collective would benefit from the issuance of a court-supervised notice of the

      present lawsuit and the opportunity to join the present lawsuit. Those similarly situated

      employees are known to Defendant, are readily identifiable and locatable through its

      records. These similarly situated employees should be notified of and allowed to opt into

      this action, pursuant to 29 U.S.C. § 216(b).

29.   The FLSA and NYLL require that employers pay all employees at least one and one-half

      (1.5) times the employee’s wage for all hours worked in excess of 40 during any workweek,

      unless they are exempt from coverage.




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30.   Defendant failed to compensate Plaintiff and members of the FLSA Collective at one and

      one-half times the employee’s wage for all hours worked in excess of 40 during any

      workweek. The exact accounting of such discrepancy can only be determined upon

      completion of discovery.

31.   The FLSA require that employers pay all employees at least the applicable minimum wage

      rate for all hours worked up to 40 during any workweek, unless they are exempt from

      coverage.

32.   Defendant failed to compensate Plaintiff and members of the FLSA Collective at the

      applicable minimum wage rate for all hours worked up to 40 during any workweek. The

      exact accounting of such discrepancy can only be determined upon completion of

      discovery.

33.   Defendant failed to compensate Plaintiff and members of the FLSA Collective with the

      appropriate spread of hours pay. The exact accounting of such discrepancy can only be

      determined upon completion of discovery.

                     THE RULE 23 PERSONAL TRAINER CLASS

34.   Proposed Class. The proposed class is comprised of all Tier 1 and Tier 2 personal trainers

      who worked for Defendant in New York state during the applicable period.

35.   Tier 1 and Tier 2 personal trainers all worked for Defendant at various locations and

      worked more than 40 hours per week. These individuals though were not paid overtime

      for all work performed after 40 hours (the “Rule 23 Personal Trainer Class”).

36.   The Rule 23 Personal Trainer Class is also not compensated for all hours worked at the

      applicable NYLL minimum wage.




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37.   Additionally, Defendant did not provide the Rule 23 Personal Trainer Class spread of hours

      pay when they worked 10 or more hours in a day.

38.   Furthermore, Defendant did not provide the Rule 23 Personal Trainer Class with accurate

      wage statements.

39.   Excluded from the Rule 23 Personal Trainer Class are employees of Defendant who are

      not Tier 1 or Tier 2 personal trainers as well as Defendant’s legal representatives, officers,

      directors, assignors and successors, or any individual who has, or who at any time during

      the class period has had, a controlling interest in any of the Defendant entities; the Judge(s)

      to whom this case is assigned and any member of the Judges’ immediate family; and all

      persons who will submit timely and otherwise proper requests for exclusion from the Rule

      23 Personal Trainer Class.

40.   Ascertainability.    The identity of the Rule 23 Personal Trainer Class is readily

      ascertainable from Defendant’s records, and class notice can be provided to all class

      members by means permitted by Rule 23 of the Federal Rules of Civil Procedure. To be

      effective, class notice should be provided not only through written communication to each

      class member’s last known address as reflected in Defendant’s records, but also through

      newspaper and radio announcements, workplace postings, and other alternative means of

      notice designed to reach this class of personal trainers. Many class members are no longer

      employed by Defendant, cannot be reached at the last known address in Defendant’s

      records.

41.   Numerosity. The size of the class makes a class action both necessary and efficient. The

      size of the class consists of conservatively 2,000 employees. Members of the class are

      ascertainable but so numerous that joinders are impracticable.




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42.        Common Questions of Law and Fact. This case poses common questions of law and fact

           affecting the rights of all class members, including:

      a)      the policies, practices, programs, procedures, protocols, and plans of Defendant
              regarding payment of overtime wage compensation;

      b)      the policies, practices, programs, procedures, protocols, and plans of Defendant
              regarding payment of minimum wage compensation;

      c)      the policies, practices, programs, procedures, protocols, and plans of Defendant
              regarding payment of spread of hours compensation;

      d)      the policies, practices, programs, procedures, protocols, and plans of the Defendant of
              requiring and/or accepting unpaid labor from its employees;

      e)      Defendants’ failure to provide accurate wage statements as required by NYLL, Article
              6, § 195(3);

      f)      what relief is necessary to remedy Defendant’s unfair and unlawful conduct as herein
              alleged.

43.        Typicality. The claims of the individual Plaintiff are typical of the claims of the class as

           a whole. Equinox’s unlawful policies are typical of the unlawful wage policies and

           practices that have and will continue to operate to deny other class members lawful

           compensation.

44.        Adequacy of Class Representation. The individual Plaintiff can adequately and fairly

           represent the interests of the class as defined above, because her individual interests are

           consistent with, and not antagonistic to, the interests of the class.

45.        Propriety of Class Action Mechanism. Defendant has implemented a series of unlawful

           schemes that are generally applicable to the class, making it appropriate to issue final

           injunctive relief and corresponding declaratory relief with respect to the class as a whole.

           Class certification is also appropriate because the common questions of law and fact

           predominate over any questions affecting only individual members of the class. The




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      prosecution of separate actions against Defendant by individual class members would

      create a risk of inconsistent or varying adjudication, which would establish incompatible

      standards of conduct for Defendant. For all these and other reasons, a class action is

      superior to other available methods for the fair and efficient adjudication of the controversy

      set forth in this complaint.

46.   This action is properly maintainable as a class action under Federal Rule of Civil Procedure

      (“FRCP”) 23(b)(3).

                                            FACTS

Equinox

47.   Equinox is an American luxury fitness company.

48.   Equinox has 300 locations throughout the United States as well as Canada and England.

49.   The global headquarters of Equinox is in New York City.

50.   Memberships at Equinox are expensive with memberships ranging from $185 to $300 a

      month.

51.   On information and belief, a significant source of income for Equinox are personal training

      sessions.

52.   On information and belief, personal training sessions at Equinox start at $110 per hour and

      can be as expensive as $160.

53.   The price of personal training sessions at Equinox is higher for personal trainers with

      higher tiers.

54.   For example, sessions with Tier 1 trainers cost $110, sessions with Tier 2 trainers cost

      $120.




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 Trainers at Equinox

 55.   Equinox has, on numerous occasions, taken advantage of its trainers, working them to the

       brink and not fully compensating them for their labor. Equinox has a policy of requiring

       (or at a minimum accepting the benefit of this labor without remuneration) their trainers to

       stay on the floor throughout the day without compensating them for their labor.

 Prior Lawsuits by Trainers Against Equinox

 56.   The policy of Equinox requiring their trainers—whether written or implicit—to work

       additional uncompensated time on the floor has led to numerous lawsuits against Equinox.

 57.   On information and belief, Equinox has been sued by their trainers for unpaid wages at

       least 5 times.

 Work Schedule and Salary of Trainers at Equinox
 58.   When an employee is hired at Equinox, they are required to undergo approximately 4

       weeks of training.

 59.   On information and belief, for this training Equinox pays their employees the New York

       State minimum wage.

 60.   In the course of training, Equinox repeatedly stresses to their new trainers the importance

       of “being out on the floor”, “making contacts with potential clients” and, overall, using the

       floor as a mechanism to obtain new clients for training sessions.

 61.   Trainers have to login to an Equinox database through the Equinox website, where they

       will access their schedule, Equinox e-mail, training session plans and Equinox fitness

       training institute (“EFTI”) homework.

 62.   Trainers do not have control of the schedule of their floor shifts, EFTI or other team

       meetings.




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 63.    This in turn results in trainers essentially being forced to stay at their respective gym and

        work additional time on the floor. For example, a one-hour team meeting may be at 10 am

        and a floor shift beginning at 2pm. For at least a portion of the 11am to 2pm the Trainer

        will—as encouraged by Equinox—to use the “down time” to stay on the floor and try to

        recruit new personal training clients for Equinox.

 64.    On information and belief, Equinox creates an erratic schedule of paid work to ensure that

        trainers will remain on the premises and therefore were essentially forced to remain on the

        floor and obtain new clients. At a minimum, whether intentional or inadvertent, this leads

        to trainers working additional hours, which hours are unpaid.

 65.    As a result, it is not unusual for trainers to work 10 hours or more at minimum wage but

        not be paid the required spread of hours law.

 66.    After the training is completed there are three separate ways Equinox pays their employees.

 Floor Shifts

 67.    First, for a “floor shift” Equinox pays their staff the New York minimum wage.

 68.    For a floor shift, the Tier 1 and Tier 2 trainers will return weights to the weight rack, wipe

        machines and, as discussed earlier, interact with Equinox patrons in the hopes of obtaining

        personal training sessions.

 69.    Floor shifts are supposed to last exactly 3 hours.

 70.    Tier 1 trainers will usually work 5 floor shifts (1 per day) a week.

 71.    Tier 2 trainers will usually work 2-4 floor shifts (1 per day) a week.

 72.    In these floor shifts Equinox trainers are required to wear a light gray shirt. The word

        “Train” is on the front of the shirt with the Equinox logo on the back of the shirt.




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 73.      The light gray shirt signifies to the Equinox customers that these trainers are available to

          be asked questions and advice.

 74.      For example, a trainer may ask a patron if they want a “spot” for a bench press or

          voluntarily offer a critique of a patron’s form.

 75.      A trainer clocks in to start their floor shift and clocks out at the end of their floor shift.

 76.      A trainer, though, is strongly encouraged to be on the floor—in their light gray shirt —

          both before and after the floor shift.

 77.      Thus, even though the respective trainer is off the “clock”, because they are on the floor

          and still in Equinox uniform, they will continue to interact with customers and try to get

          business on behalf of Equinox along with the other floor duties they perform on behalf of

          Equinox.

 78.      Equinox managers encourage the trainers to work on the floor in between paid work

          assignments when they are not officially on “the clock.”

 Meetings and Training Sessions

 79.      All Tier 1 and Tier 2 trainers are required to attend the EFTI meetings.

 80.      For the EFTI meetings, trainers are paid the New York minimum wage.

 81.      EFTI meetings are held approximately twice a week.

 82.      The EFTI meetings happen at either the Tribeca or Williamsburg location where trainers

          throughout NYC are required to attend.

 83.      Trainers, though, are not paid for traveling to these locations.

 84.      At the EFTI meetings, Equinox would remind the trainers the importance of being out on

          the floor as much as possible to obtain new clients.1


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  The importance of being out on the floor to obtain new clients is also emphasized to their staff in individual “one
 on one” meetings.


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 85.   In addition, trainers are required to have team meetings with the entire gym they are

       assigned along with individual team meetings.

 86.   At all of the above referenced meetings, Equinox management emphasizes the importance

       of being on the floor and getting new clients.

 87.   For all of the meetings discussed above, Equinox would pay the trainers minimum wage.

 88.   For some of the training sessions, staff is required to leave their main location to head to a

       different facility.

 Personal Training Sessions

 89.   For personal training sessions, trainers wear a dark grey t-shirt signifying that they should

       not be spoken to by patrons because they are engaged in a training session.

 90.   Equinox pays the trainers a higher hourly salary when they have personal training sessions.

       The amount of pay depends on the respective trainers’ level of experience.

 91.   For these sessions, Equinox requires the trainers to block off time to prepare for training

       sessions.

 92.   For this preparation time, though, Equinox does not pay the trainers even though they

       knew, and affirmatively encouraged their trainers to perform work on behalf of Equinox.

 93.   Equinox would block out approximately 6 hours on a respective trainers’ schedule to

       prepare for sessions. Equinox, though, does not pay trainers for time spent preparing for

       training sessions.

 Plaintiff Yekaterina Skidanenko’s Employment at Equinox

 94.   Plaintiff Yekaterina Skidanenko worked as a Tier 1 personal trainer at the Brooklyn

       Heights Equinox location.

 95.   Plaintiff was hired by Equinox on or about July 22, 2019.




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 96.    Plaintiff’s first day of work was on or about July 23, 2019.

 97.    Plaintiff’s last official day of work, due to an injury, was October 29, 2019.

 98.    On January 12, 2020 Equinox informed Plaintiff via e-mail that her employment was

        terminated.

 99.    As a result of her termination, Plaintiff lost access to her paystubs and Equinox email

        address.

 100.   For the first four weeks of Plaintiff’s employment, Plaintiff was in Equinox training

        program.

 101.   With respect to these 4 weeks of training, Plaintiff was paid the New York minimum wage

        and was paid for all hours worked.

 102.   Starting on or about the beginning of August 2019, Plaintiff began working as a Tier 1

        personal trainer for Defendant.

 103.   As a personal trainer, Plaintiff usually worked at Equinox 7 days per week.

 104.   On weekdays, Plaintiff usually arrived at work between 5:30am and 7am, and would leave

        on average at around 9pm. Sometimes, though, Plaintiff would stay as late as 10pm or

        11pm.

 105.   On weekends, Plaintiff would usually arrive at 7am and would leave between 1pm and

        3pm.

 106.   Plaintiff was only paid for a portion of her labor at Equinox, namely for floor sessions,

        training at Equinox Fitness Training Institute (“EFTI”), meetings and personal training

        sessions.

 107.   Thus, Plaintiff was unpaid for most hours of her employment, including: recruiting

        personal training clients for Equinox, designing training programs for those clients




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        assigned to her, and traveling to and from EFTI, which courses were held in a Manhattan

        location.

 108.   During floor shifts, Plaintiff would put back weights and remove mats and towels from the

        floor.

 109.   On the floor, Plaintiff would help patrons and answer their questions and recruit patrons

        for training sessions.

 110.   Plaintiff was assigned approximately 5 floor shifts per week.

 111.   Plaintiff had between approximately 2-3 EFTI sessions per week and they lasted

        approximately 2 hours.

 112.   These EFTI sessions were not in the Brooklyn Heights location, but were located instead

        usually in Tribeca, and sometimes in Dumbo.

 113.   Plaintiff would travel from the Brooklyn Heights location to attend the EFTI sessions, and

        would travel back to the Brooklyn Heights location once these sessions were concluded.

 114.   Plaintiff was not compensated for her travel time to and from the EFTI sessions.

 115.   EFTI sessions also had “homework” that had to be completed by the trainers. The time

        that trainers spent completing “homework” was uncompensated.

 116.   Plaintiff also was required to attend Ramper Meetings, which were specifically for Tier 1

        and Tier 2 trainers.

 117.   During Ramper Meetings, Tier 1 and Tier 2 trainers would be told how to more effectively

        recruit clients.

 118.   Ramper Meetings were held two times per week, for one hour each.

 119.   Plaintiff was also required to attend one hour-long meeting per month for all employees of

        the Brooklyn Heights location.




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 120.   Similar to the Ramper Meetings it was emphasized to Plaintiff, by the management at

        Equinox that she should be on the floor as much as possible to obtain clients.

 Scheduling at Equinox

 121.   Plaintiff had a login to an Equinox database through the Equinox website, where she could

        access her schedule, Equinox email, training session plans and EFTI homework.

 122.   Plaintiff could not control the schedule of her floor shifts, EFTI or the meetings.

 123.   John Jenkins and Emiliano Tramontozzi were the managers of the personal trainers.

 124.   Jenkins and Tramontozzi organized the schedules of the Tier 1 and Tier 2 trainers.

 125.   Plaintiff coordinated her personal training sessions around her scheduled floor shifts, EFTI

        and meetings and around her clients’ availability.

 126.   Given these scheduling constrictions, there were approximately only 4 days throughout her

        entire employment when she did not attend work.

 127.   Upon information and belief, personal trainers who were Tier 3 and higher were not

        assigned floor shifts. In addition, these personal trainers did not have to attend Ramper

        Meetings.

 128.   These same scheduling restrictions that Plaintiff experienced also apply to all other Tier 1

        and Tier 2 trainers, meaning that other Tier 1 and Tier 2 trainers, with only narrow

        exceptions, did not have any influence on their own schedules. .

 129.   By giving employees such erratic schedules of paid hours, Defendant ensures that trainers

        will be compelled to remain on the premises and perform unpaid floor shifts.

 130.   Plaintiff complained about the erratic shifts which resulted in many hours of

        uncompensated work time. As a result of her complaint, she was orally reprimanded by

        one of her managers.




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 131.   During that reprimand, Plaintiff was encouraged to spend more time preparing for her

        personal training sessions (unpaid labor) and more time recruiting new personal training

        clients on behalf of Equinox (unpaid labor)

 132.   As the other class members, Plaintiff’s uniform consisted of two shirts, a dark gray and a

        light gray, both with the word “TRAIN” on the front and with the Equinox logo on the

        back.

 133.   Plaintiff wore the dark gray shirt during training sessions, indicating that she was working

        with a client and therefore should not be approached by other gym patrons.

 134.   Plaintiff was to wear the light gray shirt during floor shifts, indicating that she was available

        to help patrons.

 135.   Between floor shifts, meetings and personal training sessions, Plaintiff generally wore her

        light gray shirt and would frequently work on the floor but would not be paid for her labor.

 136.   Specifically, Plaintiff would perform the same tasks that she would perform on her floor

        shifts. This included, but was not limited to, returning weights, removing used towels and

        recruiting patrons to be her clients.

 137.   Plaintiff partook in this task because she was compelled by management to recruit clients

        when she was not being paid by Equinox.

 138.   Indeed, when Plaintiff was not meeting expectations of personal training sessions, one of

        Plaintiff’s supervisors, Emiliano Tramontozzi, performance improvement plan including

        instructing Plaintiff to be on the floor more. Yet, Plaintiff was not being compensated for

        that time.

 139.   When Plaintiff failed to recruit a client, Plaintiff’s supervisor, Emiliano Tramontozzi,

        would ask Plaintiff whether Plaintiff had been practicing what he had been telling her to




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        do in the Ramper Meetings, specifically whether she was practicing the recommended

        techniques for recruiting clients, which included a written “speech” to be recited to the

        clients

 140.   Plaintiff was instructed to learn that technique on her own time.

 141.   Plaintiff blocked out preparation time to prepare for training in her schedule on the Equinox

        system but, consistent with the class, was not paid for this labor

 142.   Plaintiff would prepare for her sessions approximately 6 hours per week.

 Plaintiff’s Wages

 143.   Plaintiff was paid New York State minimum wage of $15 for floor shifts, training hours

        and team meetings. However, Plaintiff was not paid for travel time to attend meetings at

        Equinox’s Manhattan locations.

 144.   Plaintiff, as a Tier 1 trainer, was paid $26 per hour for her training sessions.

 145.   Plaintiff consistently worked more than 40 hours per week.

 146.   Even though Plaintiff worked more than 40 hours a week, Plaintiff was never paid time

        and one half.

 147.   In addition, Plaintiff frequently 10 hours or more in a day. Plaintiff, though, was not

        provided an additional hour’s pay as required under New York’s spread of hour law.

 Defendant’s Violations of the Wage Theft Protection Act

 148.   The NYLL and Wage Theft Prevention Act require employers to provide all employees

        with accurate wage statements.

 149.   Throughout the relevant time period, Defendant paid Plaintiff and the Rule 23 Personal

        Trainer Class wages without an accurate statement listing the number of hours they

        worked.




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                             FIRST CAUSE OF ACTION
                  FLSA Minimum Wage Violations, 29 U.S.C. §§ 201, et seq.
                     (On Behalf of Plaintiff and the FLSA Collective)

 150.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

        paragraphs.

 151.   Defendants have engaged in a widespread pattern, policy, and practice of violating the

        FLSA, as detailed in this Complaint.

 152.   At all times relevant, Plaintiff was employed by an entity engaged in commerce and/or the

        production or sale of goods for commerce within the meaning of 29 U.S.C. §§ 201 et seq.,

        and/or Plaintiff was engaged in commerce and/or the production or sale of goods for

        commerce within the meaning of 29 U.S.C. § 203. At all relevant times, each Defendant

        has employed “employee[s],” including Plaintiff.

 153.   Defendants were required to pay directly to Plaintiff the applicable federal minimum wage

        rate for all hours worked.

 154.   Defendants failed to pay Plaintiff the minimum wages to which he was entitled under the

        FLSA.

 155.   Defendants’ unlawful conduct, as described in this Complaint, has been willful and

        intentional. Defendants were aware or should have been aware that the practices described

        in this Complaint were unlawful. Defendants have not made a good faith effort to comply

        with the FLSA with respect to the compensation of Plaintiffs.

 156.   Because Defendants’ violations of the FLSA have been willful, a three-year statute of

        limitations applies, pursuant to 29 U.S.C. §§ 201 et. seq.

 157.   As a result of Defendants’ willful violations of the FLSA, Plaintiff has suffered damages

        by being denied minimum wages in accordance with the FLSA in amounts to be




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        determined at trial, and is entitled to recovery of such amounts, liquidated damages,

        prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C.

        §§ 201 et seq.

                               SECOND CAUSE OF ACTION
                      Unpaid Minimum Wages Under New York Labor Law
                         (On Behalf of Plaintiff and the Rule 23 Class)

 158.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

        paragraphs.

 159.   Defendant has engaged in a widespread pattern, policy, and practice of violating the NYLL,

        as detailed in this Complaint.

 160.   At all times relevant, Plaintiff and the Rule 23 Personal Trainer Class have been employees

        of Defendant, and Defendant has been the employer of Plaintiff and the Rule 23 Personal

        Trainer Class within the meaning of the NYLL §§ 650 et seq., and the supporting New

        York State Department of Labor Regulations.

 161.   At all times relevant, Plaintiff was covered by the NYLL.

 162.   The wage provisions of Article 19 of the NYLL and the supporting New York State

        Department of Labor Regulations apply to Defendant, and protect Plaintiff and the Rule 23

        Personal Trainer Class.

 163.   Defendant failed to pay Plaintiff and the Rule 23 Personal Trainer Class the minimum

        hourly wages to which they are entitled under the NYLL and the supporting New York

        State Department of Labor Regulations.

 164.   Through its knowing and intentional failure to pay minimum hourly wages to Plaintiff and

        the Rule 23 Personal Trainer Class, Defendant has willfully violated the NYLL, Article 19,

        §§ 650 et seq., and the supporting New York State Department of Labor Regulations.




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 165.   Due to Defendant’s willful violations of the NYLL, Plaintiff and the Rule 23 Personal

        Trainer Class are entitled to recover from Defendant unpaid minimum wages, liquidated

        damages as provided by the NYLL, reasonable attorneys’ fees, costs and pre-judgment and

        post-judgment interest.

                               THIRD CAUSE OF ACTION
                      FLSA Overtime Violations, 29 U.S.C. §§ 201, et seq.
                       (On Behalf of Plaintiff and the FLSA Collective)

 166.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

        paragraphs.

 167.   Throughout the relevant time period, Plaintiff and the FLSA Collective worked in excess

        of forty (40) hours per workweek.

 168.   At all relevant times throughout the employment of Plaintiff and the FLSA Collective,

        Defendant willfully, regularly and repeatedly failed to pay Plaintiff and the FLSA

        Collective one and one-half times the regular hourly rate of pay for work in excess of forty

        (40) hours per workweek, and willfully failed to keep records required by the FLSA, even

        though Plaintiff and the FLSA Collective were entitled to receive overtime payments.

 169.   Defendant’s decision not to pay overtime was willful.

 170.   Plaintiff and the FLSA Collective seek damages in the amount of unpaid overtime

        compensation, liquidated damages as provided by the FLSA for overtime violations,

        attorneys’ fees and costs, and such other legal and equitable relief as this Court deems just

        and proper.




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                               FOURTH CAUSE OF ACTION
                      Unpaid Overtime Wages Under New York Labor Law
                             (On Behalf of Plaintiff and the Class)

 171.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

        paragraphs.

 172.   At all times relevant to this action, Plaintiff and the Rule 23 Personal Trainer Class were

        employed by Defendant within the meaning of NY Labor Law § 652 and 12 NYCRR §142-

        2.2.

 173.   Defendant failed to pay Plaintiff and the Rule 23 Personal Trainer Class the overtime

        premium of one and a half times the regular hourly rate of pay, in violation of the NY Labor

        Law.

 174.   Defendant’s failure to pay required overtime was willful.

 175.   As a result of Defendant’s NY Labor Law violations, Plaintiff and the Rule 23 Personal

        Trainer Class are entitled to recover from Defendant unpaid overtime wages and liquidated

        (double) damages, as well as reasonable attorneys’ fees and the costs of this action,

        including interest, pursuant to the NY Labor Law.

                               FIFTH CAUSE OF ACTION
               Unpaid Spread of Hours Wages Under the New York Labor Law
                           (On Behalf of Plaintiff and the Class)

 176.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding paragraphs.

 177.   At times, Plaintiff and the Rule 23 Personal Trainer Class worked more than ten (10) hours in a

        workday.

 178.   Defendant willfully failed to compensate Plaintiff and the Rule 23 Personal Trainer Class one

        hour’s pay at the basic New York minimum hourly wage rate on days in which the length of her

        workday was more than ten hours, as required by New York law.




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 179.   Through their knowing or intentional failure to pay Plaintiff and the Rule 23 Personal Trainer Class

        spread-of-hours pay, Defendant has willfully violated the NYLL, Article 19, §§ 650 et seq., and

        the supporting New York State Department of Labor Regulations.

 180.   Due to Defendant’s willful violations of the NYLL, Plaintiff and the Rule 23 Personal

        Trainer Class entitled to recover from Defendant their unpaid spread-of-hour wages,

        liquidated damages as provided for by the NYLL, reasonable attorneys’ fees, costs, and

        pre-judgment and post-judgment interest.

                                 SIXTH CAUSE OF ACTION
              Failure to Provide Wage Statements Under the New York Labor Law
                              (On Behalf of Plaintiff and the Class)

 181.   Plaintiff, on the behalf of herself and the Rule 23 Personal Trainer Class, re-alleges and

        incorporates by reference all allegations in all preceding paragraphs.

 182.   Defendants willfully failed to supply Plaintiff and the Rule 23 Personal Trainer Class with

        accurate statements of wages as required by NYLL, Article 6, § 195(3), containing the

        dates of work covered by that payment of wages; name of employee; name of employer;

        address and phone number of employer; rate or rates of pay and basis thereof, whether paid

        by the hour, shift, day, week, salary, piece, commission, or other; gross wages; hourly rate

        or rates of pay and overtime rate or rates of pay if applicable; the number of hours worked,

        including overtime hours worked if applicable; deductions; and net wages.

 183.   Through their knowing or intentional failure to provide Plaintiff and the Rule 23 Personal

        Trainer Class with accurate wage statements as required by the NYLL, Defendants

        willfully violated NYLL, Article 6, §§ 190 et seq., and the supporting New York State

        Department of Labor Relations regulations.

 184.   Due to Defendants’ willful violations of NYLL, Article 6, § 195(3), Plaintiff and the Rule

        23 Personal Trainer Class are entitled to statutory penalties of two hundred and fifty dollars


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        for each work day that Defendants failed to provide Plaintiff and the Rule 23 Class with

        accurate wage statements, or a total of five thousand dollars, reasonable attorneys’ fees,

        costs and injunctive and declaratory relief, as provided for by NYLL, Article 6, § 198(1-

        d).

                               SEVENTH CAUSE OF ACTION
                 (Failure to Pay Earned Wages in Violation of New York Labor Law

 185.   Plaintiff, realleges and incorporates by reference all allegations in all preceding paragraphs.

 186.   At all relevant times, Plaintiff was an “employee” within the meaning of the New York labor Law.

 187.   Similarly, at all relevant times, Defendants, including the individually named Defendants, were

        “employers” within the meaning of the New York Labor Law.

 188.   Defendants failed to pay Plaintiff and the Class her earned wages for the periods of time and in the

        manner as set forth above.

 189.   Defendants’ failure to pay Plaintiff her earned wages was willful and not based on any good faith

        belief of compliance with New York Labor Law § 663, et seq.

 190.   As a result of the foregoing, Plaintiff has been denied wages required under New York Labor Law

        §§ et seq. and is entitled to an award of unpaid wages in an amount to be determined at trial, plus

        liquidated damages, prejudgment interest and reasonable attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the entry of an order and judgment against Defendant

 Equinox Holdings, Inc. as follows:

        (a) Designation of this action as a collective action on behalf of the FLSA Collective

              Members (asserting FLSA claims and state claims) and prompt issuance of notice

              pursuant to 29 U.S.C. § 216(b) to all similarly situated members of the FLSA opt-in

              class, apprising them of the pendency of this action, and permitting them to assert




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          timely FLSA claims and state claims in this action by filing individual Consent to Sue

          forms pursuant to 29 U.S.C. § 216(b);

       (b) Damages for the unpaid minimum wages due to Plaintiff and the FLSA Collective, in

          an amount to be determined at the trial of the action, along with liquidated damages as

          provided by the FLSA;

       (c) Damages for the unpaid minimum wages due to Plaintiff and the FLSA Collective, in

          an amount to be determined at the trial of the action, along with liquidated damages as

          provided by the NYLL;

       (d) Damages for the unpaid overtime pay due to Plaintiff and the FLSA Collective, in an

          amount to be determined at the trial of the action, along with liquidated damages as

          provided by the FLSA;

       (e) Damages for the overtime pay due to Plaintiff, along with liquidated damages permitted

          by law pursuant to the NYLL and the supporting New York State Department of Labor

          Regulations;

       (f) Damages for the unpaid spread of hours wages due to Plaintiff and the FLSA

          Collective, in an amount to be determined at the trial of the action, along with liquidated

          damages as provided by the NYLL;

       (g) Certification of the Rule 23 Personal Trainer Class and the Non-Exempt Class pursuant

          to Rule 23;

       (h) Designation of Plaintiff as class representative of the Rule 23 Classes and counsel of

          record as Class Counsel;

       (i) Damages for unpaid overtime, minimum wages and spread of hours wages due to

          Plaintiff and the Rule 23 Personal Trainer Class in an amount to be determined at the




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          trial of the action, along with liquidated damages as provided by the NYLL, interest,

          attorneys’ fees, and the cost of the action;

       (j) Statutory penalties of two hundred and fifty dollars for each work day that Defendant

          failed to provide Plaintiff and the Rule 23 Personal Trainer Class members with

          accurate wage statements, or a total of five thousand dollars as provided for by NYLL,

          Article 6, § 198;

       (k) For pre-judgment and post-judgment interest on the foregoing amounts;

       (l) For the costs and disbursements of this action, including attorneys’ fees and expenses;

          and

       (m) For such other further and different relief as this Court deems just and proper.


 Dated: March 25 , 2020
        New York, New York
                                                     THE LAW OFFICES OF JACOB
                                                     ARONAUER

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